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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                      Case No: 3:19-cv-699
                                      §
vs.                                   §                      PATENT CASE
                                      §
FURRION, LLC                          §                      JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

against Furrion, LLC (“Defendant” or “Furrion”) for infringement of United States Patent No.

9,300,723 (the “ ‘723 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with a place of business at 1801 NE

123rd Street, Suite 314, North Miami, FL 33161.

       4.      On information and belief, Defendant is a Delaware limited liability company

with a principal office address of 52567 Independence Ct., Elkhart, IN 46514. On information

and belief, Defendant may be served through its agent, Corporation Service Company, at 135

North Pennsylvania St., Suite 1610, Indianapolis, IN, 46204.
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        5.      This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted business

in this District, and/or has engaged in continuous and systematic activities in this District.

        6.      Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

District.

                                              VENUE

        7.      On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to be a resident of this District. Alternatively, acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

the ‘723 Patent and sue infringers.

        11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.     Defendant has infringed and continues to infringe one or more claims, including

at least Claims 12, 14, 16, 17, and 20 of the ‘723 Patent by making, using, and/or selling media
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systems covered by one or more claims of the ‘723 Patent. For example, Defendant makes, uses,

and/or sells the DV7100 media system with NFC and Bluetooth wireless technology, and any

similar products (“Product”). Defendant has infringed and continues to infringe the ‘723 Patent

in violation of 35 U.S.C. § 271.

       14.     Regarding Claim 12, the Product is configured to receive a media file (e.g., music

file) from a wireless mobile device (e.g., mobile phone) over a communication network (e.g.

Bluetooth network or NFC). The wireless mobile device (e.g., mobile phone) sends data (e.g.,

music file) to the media system. The wireless mobile device is a passive NFC device, whereas

the media system is an active NFC device as it can receive the data during wireless transmission.

Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.
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       15.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain

aspects of this element are illustrated in the screenshots below and/or in those provided in

connection with other allegations herein.




       16.     The Product includes a security measure (e.g., Bluetooth PIN). Certain aspects of

this element are illustrated in the screenshots below and/or those provided in connection with
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other allegations herein.




       17.     The Product is disposed in an accessible relation to at least one interactive

computer network (e.g., Bluetooth network) that has a wireless range structured to permit

authorized access (e.g., via pairing code) to said at least one interactive computer network.

Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




       18.     When the wireless mobile device is within the wireless range, the wireless mobile

device is detectable by the media system (e.g., the media system automatically detects a
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smartphone with NFC when placed within NFC range). Data transmission through NFC is done

by two devices: polling device and listening device. The polling device is the one that initiates

the communication link and the listening device is the one that detects the signal. In the Product,

the media system is the polling device and the wireless mobile device is the listening device.

The media system (active NFC) sends electromagnetic signals within a certain area. The mobile

phone (passive NFC) detects the signals and the connection is established. As the

electromagnetic signals are being initiated by the media system, the media system behaves as an

initiator (polling device) and the mobile device phone behaves as a target (listening device).

Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.
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       19.     At least one digital media file (e.g., music file) is initially disposed on the wireless

mobile device (e.g., the mobile phone includes one or more music files). Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.
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       20.     The media system is structured to detect the wireless mobile device disposed

within the wireless range (e.g., media system automatically detects the mobile phone when

placed within NFC range). The media system (active NFC) sends electromagnetic signals within

a certain area. The mobile phone (passive NFC) detects the signals and the connection is

established. Certain aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.
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       21.     A communication link (e.g., NFC) is structured to dispose the media system and

the wireless mobile device (e.g. mobile phone) in a communicative relation with one another via

the at least one interactive computer network. Certain aspects of this element are illustrated in

the screenshots below and/or those provided in connection with other allegations herein.
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       22.     The communication link is initiated by the media system (e.g., the media system

sends electromagnetic signals which are detected by the mobile phone). Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.
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       23.     The wireless mobile device and the media system are structured to transmit the

at least one digital media file there between via the communication link (e.g., media system

allows for the transmission of files between itself and the wireless mobile device; e.g., the mobile

device transmits the music file to the media system). Certain aspects of this element are

illustrated in the screenshots provided in connection with other allegations herein.

       24.     The communication link is structured to bypass the security measure of the media
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system for a limited permissible use of the communication link by the wireless mobile device

for only transferring the at least one digital media file to, and displaying the at least one digital

media file on, the media system (e.g., the media system bypasses the security measure (e.g., PIN-

based pairing process) of the Bluetooth network using the NFC). Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




          25.   Regarding Claim 14, the transmission of the at least one digital media file from

the wireless mobile device to the media system completely bypasses the security measure (e.g.,

the Wi-Fi security settings such as encryption or password requirements are completely bypassed

for the purpose of transmitting the digital media file). Certain aspects of this element are

illustrated in the screenshots provided in connection with other allegations herein.

          26.   Regarding Claim 16, the media system is an audio system.

          27.   Regarding Claim 17, the communication link is a Bluetooth connection.

          28.   Regarding Claim 20, the digital media file is provided by the wireless mobile

device.

          29.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          30.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.
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          31.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                         JURY DEMAND

          Display Technologies, LLC, by counsel, respectfully requests that this cause of action

be set for trial by jury.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,300,723 (or, in the

alternative, awarding Plaintiff running royalties from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.
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Dated: August 29, 2019             Respectfully submitted,



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